Case 2:21-cv-04250-GW-PVC Document 21 Filed 10/25/21 Page 1 of 1 Page ID #:131



 1
                                                                                     JS-6
 2

 3

 4

 5

 6
                                  UNITED STATES DISTRICT COURT
 7
                              CENTRAL DISTRICT OF CALIFORNIA
 8
     MAZAL SAADA, individually and on                   Case No.: CV 21-4250-GW-PVCx
 9
     behalf of all others similarly situated,
10
                     Plaintiff,                         ORDER OF DISMISSAL
11
         v.
12
     MIDLAND CREDIT MANAGEMENT,
13
     INC., et al,
14
                     Defendants.
15

16
              Pursuant to the Stipulation of Dismissal filed by the parties on October 22, 2021,
17
     IT IS HEREBY ORDERED that Plaintiff’s causes of action against Defendants
18
     MIDLAND CREDIT MANAGEMENT, INC. and ENCORE CAPITAL GROUP, INC.
19
     are dismissed with prejudice. Any claims of any putative class members are dismissed
20
     without prejudice. Each party shall bear its own costs and attorneys’ fees.
21

22
              IT IS SO ORDERED.
23

24
     Dated: October 25, 2021
25
                                                      HON. GEORGE H. WU,
26                                                    United States District Judge
27

28



                                         (Proposed) Order of Dismissal
